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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------------------------x



 In re:                                                    )
                                                           )
 REPUBLIC METALS REFINING                                  ) Chapter 11
 CORPORATION., et al.,                                     )
                                                           ) Case No. 18-13359 (SHL)
                   Debtors.                                )
                                                           ) Jointly Administered
                                                           )
 ----------------------------------------------------------x

                                AMENDED NOTICE OF DEPOSITIONS

           Reference is made to the Amended Notice of Depositions [1314], Notice of 30(b)(6)

 Deposition [ECF No. 1047], and Supplemental Notice to Take Depositions [ECF No. 1243], and

 the Supplemental Notice of Depositions as to Debtors’ 30(b)(6) Witnesses [ECF No. 1299]

 (together, the “Notices”). The Notices constituted notice on behalf of Premier Gold Mines

 Limited and on behalf of any other party to the proceedings governed by the Order Approving

 Uniform Procedures for Resolution of Ownership Disputes [ECF No. 395], the First Amended

 Order Approving Uniform Procedures for Resolution of Ownership Disputes [ECF No. 913],


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  and the Second Amended Order Approving Uniform Procedures for Resolution of Ownership

  Disputes [ECF No. 1196] (collectively, the “UniformProcedures”) with an interest in

  participating in the 30(b)(6) deposition of the above-captioned Debtors on the topics set forth in

  the 30(b)(6) Deposition Notice. By letter dated July 5, 2019 from Esther McKean to counsel for

  the customers who filed a customer statement in accordance with the Uniform Procedures,

  Debtors designated Jason Rubin, Chief Executive Officer, David Comite, Chief Financial

  Officer, and Scott Avila, Chief Restructuring Officer, as witnesses for the topics identified in the

  30(b)(6) Deposition Notice. Reference is also made to notices of deposition served in accordance

  with the Uniform Procedures to take the depositions of Mr. Rubin, Mr. Comite, and Mr. Avila.

            PLEASE TAKE NOTICE that Premier Gold Mines Limited will take the depositions

  upon oral examination of the Debtors, through Mr. Rubin, Mr. Comite, and Mr. Avila, and will

  take the depositions of Mr. Rubin, Mr. Comite, and Mr. Avila in their individual capacities.

            The depositions will take place as follows:

          Deponent:                   Date:                       Time:                Address:
                                  August 21, 2019               9:00 a.m.
        David Comite                                                              Arnold & Porter
                                  August 22, 2019               9:00 a.m.
                                                                                  250 W. 55th Street
                                  August 26, 2019               9:00 a.m.
         Jason Rubin                                                              New York, NY 10019
                                  August 27, 2019               9:00 a.m.
                                  August 28, 2019               9:00 a.m.
                                                                                  Dorsey & Whitney LLP
          Scott Avila             August 29, 2019               9:00 a.m.         51 West 52 Street
                                                                                  New York, NY 10019



           For those parties in interest interested in participating in person in the deposition of Mr.

 Rubin,       please    provide    the   name       of    any    attendees   to    Brendan    Gibbons

 (brendan.gibbons@arnoldporter.com or 212-836-8000) no later than one day before the

 deposition.




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           For those parties in interest interested in participating remotely in the deposition of Mr.

 Rubin, please contact Mr. Gibbons no later than one day before the deposition to make

 arrangements to participate through WebEx and/or other commonly available conferencing

 software.

           For those parties in interest interested in participating in person in the deposition of Mr.

 Avila,      please     provide   the   name    of       any   attendees   to   Alessandra    Glorioso

 (glorioso.alessandra@dorsey.com or 212-415-9200) no later than one day before the deposition.

           For those parties in interest interested in participating remotely in the deposition of Mr.

 Avila, please contact Ms. Glorioso no later than one day before the deposition to make

 arrangements to participate through WebEx and/or other commonly available conferencing

 software.

           The depositions will be taken before a qualified notary public or other officer authorized

 by law to administer oaths, and will continue from day-to-day, excluding weekends and holidays,

 until completed. The testimony will be recorded stenographically and will be videotaped.

                                        [signature page to follow]




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 Dated: August 22, 2019


                                    By: /s/ Alessandra Glorioso
                                    Eric Lopez Schnabel
                                    Daniel P. Goldberger
                                    Alessandra Glorioso
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